Case 7:21-cv-05052-KMK Document 1-2 Filed 06/08/21 Page 1 of 3




           EXHIBIT B
       Case 7:21-cv-05052-KMK Document 1-2 Filed 06/08/21 Page 2 of 3

                                                                          Service of Process
                                                                          Transmittal
                                                                          10/08/2020
                                                                          CT Log Number 538367988
TO:      Legal Sop, Melissa Partlow
         Best Buy Enterprise Services, Inc.
         7601 PENN AVE S
         RICHFIELD, MN 55423-3683

RE:      Process Served in New York

FOR:     Best Buy Co., Inc. (Domestic State: MN)




ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                    RITA INTRIAGO, Pltf. vs. BEST BUY (STORE # 461), et al., Dfts. // To: Best Buy Co.,
                                    Inc.
DOCUMENT(S) SERVED:                 -
COURT/AGENCY:                       None Specified
                                    Case # EF0050992020
NATURE OF ACTION:                   Personal Injury - Failure to Maintain Premises in a Safe Condition
ON WHOM PROCESS WAS SERVED:         C T Corporation System, New York, NY
DATE AND HOUR OF SERVICE:           By Certified Mail on 10/08/2020 postmarked: "Not Post Marked"
JURISDICTION SERVED :               New York
APPEARANCE OR ANSWER DUE:           None Specified
ATTORNEY(S) / SENDER(S):            None Specified
ACTION ITEMS:                       CT has retained the current log, Retain Date: 10/08/2020, Expected Purge Date:
                                    10/13/2020

                                    Image SOP

                                    Email Notification, Legal Sop ctlegalsop@bestbuy.com

SIGNED:                             C T Corporation System
ADDRESS:                            208 South LaSalle Street
                                    Suite 814
                                    Chicago, IL 60604
For Questions:                      866-331-2303
                                    CentralTeam1@wolterskluwer.com




                                                                          Page 1 of 1 / BW
                                                                          Information displayed on this transmittal is for CT
                                                                          Corporation's record keeping purposes only and is provided to
                                                                          the recipient for quick reference. This information does not
                                                                          constitute a legal opinion as to the nature of action, the
                                                                          amount of damages, the answer date, or any information
                                                                          contained in the documents themselves. Recipient is
                                                                          responsible for interpreting said documents and for taking
                                                                          appropriate action. Signatures on certified mail receipts
                                                                          confirm receipt of package only, not contents.
             Case 7:21-cv-05052-KMK Document 1-2 Filed 06/08/21 Page 3 of 3


                      State of'New York - Department of State
                              Division of Corporations


Party Served:                                      Plaintiff/Petitioner:
 BEST BUY CO., INC.                                   INTRIAGO, RITA




 C/O C T. CORPORATION SYSTEM
 28 LIBERTY STREET
 NEW YORK, NY 10005




 Dear Sir/Madam:                  •
 Enclosed herewith is a legal document which was served upon the Secretary of
 State on 09/16/2020 pursuant to SECTION 306 OF THE BUSINESS CORPORATION LAW.
  This copy is being transmitted pursuant to such statute to the address
 provided for such purpose.




                                                                    Very truly yours,
                                                             Division of Corporations
